Case 2:23-cr-20023-MFL-JJCG ECF No. 34, PageID.399 Filed 01/09/24 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,
                                                     Case No. 23-cr-20023
v.                                                   Hon. Matthew F. Leitman

TIMOTHY HAZELETT,

     Defendant.
__________________________________________________________________/

                   ORDER FOR SUPPLEMENTAL BRIEFING

      Now pending before the Court is Defendant Timothy Hazelett’s Motion for

Franks Hearing and to Suppress Evidence. (See Mot., ECF No. 22.) The Court has

reviewed the filings to date in connection with the motion and has concluded that it

would benefit from one final round of supplemental briefing. This additional round

of briefing shall address (in greater detail than in the current briefing) the argument

by Hazelett that the affidavit in support of the relevant search warrant did not

demonstrate a sufficient nexus between any alleged crime and the place to be

searched. (See id., PageID.118-119.) More specifically, the Court directs the parties

to identify the most relevant Sixth Circuit authority on the nexus issue and to offer

arguments as to how that authority applies to the facts of this case.




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Case 2:23-cr-20023-MFL-JJCG ECF No. 34, PageID.400 Filed 01/09/24 Page 2 of 3




      The Government should identify the Sixth Circuit decision that has found a

sufficient nexus on facts closest to the facts of this case. The Government should

also identify with precision those portions of the affidavit that it believes establish a

nexus between an alleged criminal offense and the place to be searched.

      Hazelett should identify the Sixth Circuit decision that has found an

insufficient nexus on facts closest to this case.

      Both parties may also discuss and analyze relevant case law from outside the

Sixth Circuit and/or from any federal district courts.

      Furthermore, both parties should address the applicability, if any, of the Sixth

Circuit’s decision in Peffer v. Stephens, 880 F.3d 256, 269-273 (6th Cir. 2016). The

parties should address whether Peffer applies here and whether any portion of the

cited pages from Peffer is obiter dicta. Finally, the parties should address whether,

assuming the “presumption” identified in Peffer, see id. at 270, applies here, the

presumption was rebutted by (1) statements in the affidavit suggesting that Hazelett

(and/or his brother) may not have owned the cellular telephone used to communicate

with the alleged minor victim or (2) any other statements in the affidavit that for any

reason cast doubt on whether there was any connection between (a) any object

allegedly used by Hazelett (and/or his brother) to commit a crime and (b) the place

to be searched.




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Case 2:23-cr-20023-MFL-JJCG ECF No. 34, PageID.401 Filed 01/09/24 Page 3 of 3




      Finally, both parties should address whether, assuming the Court finds an

insufficient nexus between any alleged offense and the place to be searched, the

Court should nonetheless decline to suppress the seized evidence on the basis of the

good faith exception. See United States v. Kinison, 710 F.3d 678 (6th Cir. 2013)

(explaining how good faith exception applies where nexus found to be lacking).

      Hazelett shall file his supplemental brief by February 12, 2024.          The

Government shall file its supplemental brief by February 29, 2024.

      IT IS SO ORDERED.
                                      s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
                                      UNITED STATES DISTRICT JUDGE

Dated: January 9, 2024


       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on January 9, 2024, by electronic means and/or
ordinary mail.

                                      s/Holly A. Ryan
                                      Case Manager
                                      (313) 234-5126




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